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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0799V
                                          UNPUBLISHED


    JEFFREY SCOTT CANTRELL,                                     Chief Special Master Corcoran

                         Petitioner,                            Filed: November 21, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for petitioner.

Laurie Wiesner, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On May 31, 2019, Jeffrey Cantrell filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered from Guillain-Barré Syndrome (GBS)
after receiving the influenza (“flu”) vaccination on October 18, 2018. Petition at 1.
Petitioner further alleges that the onset of GBS occurred between three and forty-two
days after the flu vaccination and that there was no apparent alternative cause for the
GBS. Petition at 5. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

      On May 21, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS. ECF 23. On November 19, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $166,256.66.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Proffer at 2. Specifically, Respondent proffers that Petitioner should be awarded
$140,000.00 for pain and suffering; $18,154.35 for past lost wages; $6,401.91 for past,
unreimbursed medical expenses; and $1,700.40 for future, unreimbursable medical
expenses. Id. at 1. In the Proffer, Respondent further represented that Petitioner agrees
with the proffered award. Id. at 2. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $166,256.66 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 JEFFREY SCOTT CANTRELL,

                Petitioner,                          No. 19-799V
                                                     Chief Special Master Corcoran
 v.                                                  ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On May 31, 2019, Jeffrey Scott Cantrell (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that he suffered from Guillain-Barre Syndrome as a result of

an influenza vaccine he received on October 18, 2018. Petition at 1. On May 21, 2020, the

Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that

this case is appropriate for compensation under the terms of the Act, and on May 21, 2020, the

Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to compensation.

ECF No. 23; ECF No. 27.

I.    Items of Compensation

       Respondent proffers that petitioner should be awarded $140,000.00 for pain and

suffering, $18,154.35 for past lost wages, $6,401.91 for past, unreimburseable medical expenses,

and $1,700.40 for future, unreimburseable medical expenses. These amounts represent all

elements of compensation to which petitioner is entitled under 42 U.S.C. § 300aa-15(a).

Petitioner agrees.
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II.     Form of the Award

        Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $166,256.66 in the form of a check payable to petitioner. 1 This

lump sum payment represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

        Petitioner is a competent adult. Evidence of guardianship is not required in this case.


                                                              Respectfully submitted,

                                                              JEFFREY BOSSERT CLARK
                                                              Acting Assistant Attorney General

                                                              C. SALVATORE D’ALESSIO
                                                              Acting Director
                                                              Torts Branch, Civil Division

                                                              CATHARINE E. REEVES
                                                              Deputy Director
                                                              Torts Branch, Civil Division

                                                              HEATHER L. PEARLMAN
                                                              Assistant Director
                                                              Torts Branch, Civil Division


                                                              /s/ Laurie Wiesner
                                                              LAURIE WIESNER
                                                              Trial Attorney
                                                              Torts Branch, Civil Division
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                                                              P.O. Box 146
                                                              Benjamin Franklin Station
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                                                              Tel: (202) 305-0253
                                                              laurie.wiesner@usdoj.gov
DATED: November 19, 2020

1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court for appropriate
relief. In particular, respondent would oppose any award for future medical expenses, future pain and suffering, and
future lost wages.


                                                         2
